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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF OKLAHOMA

(1) JAMES D. BUCHANAN,                         )
                                               )
                            Plaintiff,         )
                                               )
v.                                             )     Case No. 18-CV-171-RAW
                                               )
(1) TURN KEY HEALTH CLINICS, LLC,              )     JURY TRIAL DEMANDED
(2) ROB FRAZIER, in his official capacity as   )
Muskogee County Sheriff,                       )
(3) BOARD OF COUNTY COMISSIONERS               )
OF MUSKOGEE COUNTY, OKLAHOMA,                  )
(4) DR. COOPER, and                            )
(5) KATIE MCCULLAR, LPN                        )
                                               )
                            Defendants.        )


              DEFENDANT, ROB FRAZIER’S, IN HIS OFFICIAL CAPACITY,
                     MOTION FOR SUMMARY JUDGMENT


                                               Respectfully submitted,
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September 4, 2019
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Exhibit 2 – Official Oklahoma Traffic Report

Exhibit 3 – Deposition of Todd Wilcox

Exhibit 4 – Deposition of Stan Buchanan

Exhibit 5 – August 10, 2019 Deposition of Dr. Clinton Baird

Exhibit 6 – Booking and Release Sheet

Exhibit 7 – Medical Questionnaire

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Exhibit 12 – Medication Administration Record

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Exhibit 14 – February 6, 2019 Deposition of Rob Frazier

Exhibit 15 – November 5, 2016 Sick Call List

Exhibit 16 – Deposition of Katie McCullar

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Exhibit 19 – November 10, 2016 Sick Call List

Exhibit 20 – November 11, 2016 Video of phone conference with Stan Buchanan

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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF OKLAHOMA

(1) JAMES D. BUCHANAN,                             )
                                                   )
                             Plaintiff,            )
                                                   )
v.                                                 )      Case No. 18-CV-171-RAW
                                                   )
(1) TURN KEY HEALTH CLINICS, LLC,                  )      JURY TRIAL DEMANDED
(2) ROB FRAZIER, in his official capacity as       )
Muskogee County Sheriff,                           )
(3) BOARD OF COUNTY COMISSIONERS                   )
OF MUSKOGEE COUNTY, OKLAHOMA,                      )
(4) DR. COOPER, and                                )
(5) KATIE MCCULLAR, LPN                            )
                                                   )
                             Defendants.           )

     DEFENDANT ROB FRAZIER, IN HIS OFFICIAL CAPACITY’S MOTION FOR
              SUMMARY JUDGMENT AND BRIEF IN SUPPORT

        Defendant Rob Frazier, in his official capacity as Muskogee County Sheriff, (“Defendant

Frazier”) moves the Court to grant summary judgment in his favor pursuant to Federal Rule of

Civil Procedure 56(a) with regard to Plaintiff’s claims against him.       In support thereof,

Defendant submits the following Brief:

                                 LCvR 56.1(b) STATEMENT

     1. Plaintiff James Buchanan (“Buchanan” or “Plaintiff”) has been in and out of the

Muskogee County Jail for years, with 13 separate stays in the Jail. (See Ex. 1, Depo. of James

Buchanan, 78:13-78:21).

     2. Buchanan was in a bicycle accident on September 16, 2016, where his bicycle was hit by

an automobile from behind. (See Ex. 1, Depo. of James Buchanan, 19:13-19:19, 89:5-89:23; Ex.

2, Official Oklahoma Traffic Report).

     3. Buchanan claims to have both short-term and long-term memory problems, which date

back to the time of this bicycle accident. Buchanan’s brother Stan, however, testified that
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Buchanan has had memory problems since he was at least 13 or 14 years old, or even younger.

(See Ex. 1, Depo. of James Buchanan, 18:3-18:13; Ex. 3, Depo. of Todd Wilcox, 151:16-152:14,

152:18-152:22; Ex. 4, Depo. of Stan Buchanan, 71:14-72:2)

   4. Buchanan was taken to Muskogee Regional Hospital for a few hours, before being

transferred to St. John’s in Tulsa, for 14 days, where he was discharged on September 30, 2016.

(See Ex. 1, Depo. of James Buchanan, 97:24-98:25).

   5. From the bicycle accident, Buchanan suffered two broken ribs on the left side, a

collapsed left lung, and neck issues (which did not require surgery at St. Johns). While at St.

John’s, his lung had re-inflated, and there was no treatment necessary for his broken ribs. (See

Ex. 1, Depo. of James Buchanan, 100:14-103:7, 106:3-108:5).

   6. While at St. John’s, the infection that eventually led to a cervical epidural abscess in his

spine were not noticed by medical personnel, even though it was already existent. (See Ex.5,

August 10, 2019 Depo. of Dr. Clinton Baird, 124:16-125:15).

   7. Buchanan did not return to work after being released from the hospital on September 30,

2016. (See Ex. 1, Depo. of James Buchanan, 109:11-109:16).

   8. Buchanan also did not bother to see his doctor, once his short-term pain medication ran

out 20 days after his release from St. John’s. He instead chose on his own volition to begin

seeing a chiropractor. (See Ex. 1, Depo. of James Buchanan, 122:1-122:21, 151:1-151:16).

   9. After his release from St. John’s, Buchanan absconded from court at an October 24, 2016

hearing on three criminal cases (including two felonies): CM-2015-232, CF-2014-62, and CF-

2016-367, causing his bond to be revoked by Judge Adair, and a bench warrant to be issued.

(See Ex. 1, Depo. of James Buchanan, 116:1-116:19, 122:24-123:1, 145:9-145:19).

   10. Buchanan turned himself into the Muskogee County Jail on November 3, 2016. (See Ex.

1, Depo. of James Buchanan, 117:3-117:15; Ex. 6, Booking and Release Sheet).
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   11. At the time he entered the Muskogee County Jail, his broken ribs had healed, and he no

longer had a collapsed lung.   (See Ex. 1, Depo. of James Buchanan, 137:22-138:15, 291:24-

292:2).

   12. Upon his entry into the Muskogee County Jail, Buchanan told jail personnel that he had

broken ribs, a collapsed lung, burnt fingers, and “neck problems.” (See Ex. 1, Depo. of James

Buchanan, 147:19-148:14; Ex. 7, Medical Questionnaire).

   13. Buchanan also informed jail personnel that he was taking “anti-inflammatory muscle

relaxers pain meds” via a Dr. Trinidad. (See Ex. 1, Depo. of James Buchanan, 150:20-151:3).

   14. As of November 3, 2016, Buchanan says he had no indication whatsoever that any sort of

paralysis was developing. (See Ex. 1, Depo. of James Buchanan, 327:10-327:24).

   15. A medical screening was thereafter performed by Turn Key Health Clinics, LLC (“Turn

Key”) nurse Rosemary Kotas on November 3, 2016, where it was again noted that Buchanan had

broken ribs, a collapsed lung, burnt fingers, and “neck problems.” (See Ex. 1, Depo. of James

Buchanan, 153:3-156:21; Ex. 3, Depo. of Todd Wilcox, 154:22-155:9; Ex. 34, Intake Form).

   16. As of that date (November 3, 2016), Buchanan says he was able to move both his arms

and both his legs. (See Ex. 1, Depo. of James Buchanan156:19-156:23).

   17. On November 4, 2016, Buchanan was brought by Jailer Ryan Hamil (“Hamil”) to Turn

Key medical staff, where he was seen by a nurse named Deana Ayers (“Ayers”). Ayers spoke

with Turn Key Dr. William Cooper (“Cooper”), who prescribed Buchanan with an anti-

inflammatory pain reliever, Naproxen 500 mg, twice a day. (See Ex. 1, Depo. of James

Buchanan, 175:14-176:24; Ex. 8, Depo. of Ryan Hamil, 16:7-16:25; Ex. 9. Provider Order; Ex.

10, Depo. of William Cooper, 147:1-147:13).

   18. On November 4, 2016, Buchanan says he was still able to move both his arms and both

his legs. (See Ex. 1, Depo. of James Buchanan, 178:8-178:20).
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   19. In Buchanan’s remaining time at the Muskogee County Jail, Hamil (who worked the

north tower which covered cellblock 1, and received intercom messages) has no memory of any

other interaction with Buchanan, of receiving any complaints from Buchanan or from any other

inmates about Buchanan, or of hearing of any inmate who was paralyzed or unable to use his

appendages. (See Ex. 8, Depo. of Ryan Hamil, 18:19-19:16, 21:17-21:24, 22:1-22:17, 48:15-

49:4).

   20. Buchanan was administered Naproxen by nurses twice a day every day, in the morning

and at night, with only one exception (19 total times). On each of these occasions, the nurses

came up to the bean hole at the door, and gave the medication directly to Buchanan, making sure

that his mouth was open, and that the medication was swallowed. Buchanan had the opportunity

to speak to the nurses on all of these occasions. Moreover, on each of these occasions, Buchanan

had to stand and walk up to the bean hole to obtain the medication. (See Ex. 1, Depo. of James

Buchanan, 181:12-181:22, 182:4-183:9; Ex. 11, Depo. of Rosemary Kotas, 226:8-227:21, Ex.

12, Medication Administration Record; Ex. 8, Depo. of Ryan Hamil, 49:15-49:22; Ex. 3, Depo.

of Todd Wilcox, 159:6-159:19; Ex. 13, Depo. of Marshal Dugan, 58:12-59:11, 63:7-63:13; Ex.

10, Depo. of William Cooper, 156:2-157:6).

   21. The Sick Call List from November 5, 2016 does not include Buchanan, which indicates

he did not request to see any nurses on that date. (See Ex. 14, February 6, 2019 Depo. of Rob

Frazier, 120:3-120:11; Ex. 15, November 5, 2016 Sick Call List)

   22. On at least five times, (November 4, 5, 6, 10, and 11) LPN Rosemary Kotas (“Kotas”)

administered medication directly to Buchanan, and never thought there was an emergency

situation. If she had thought there was, she would have contacted Dr. Cooper. (See Ex. 11,

Depo. of Rosemary Kotas, 227:23-229:8; Ex. 12, Medication Administration Record).



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   23. Also on at least four occasions (on November 6, 7, 11, and 14), LPN Katie McCullar (aka

Katie Smith) (“McCullar”) administered medication directly to Buchanan. (See Ex. 16, Depo.

of Katie McCullar, 199:11-201:3, 203:5-203:18, 222:14-222:18; Ex. 12, Medication

Administration Record).

   24. On November 6, 7, and 11, McCullar does not recall Buchanan saying anything to her

about paralysis, or being unable to move, and McCullar does not believe there was any sort of

emergency situation. (See Ex. 16, Depo. of Katie McCullar, 203:16-204:24, 222:14-222:18).

   25. Additionally, McCullar has no memory of any jailer or other nurse saying anything to her

about Buchanan before the morning of November 14. (See Ex. 16, Depo. of Katie McCullar,

205:20-205:25, 223:20-224:3).

   26. Neither Buchanan, nor Marshal Dugan, can name any jailers at all that they dealt with in

the Muskogee County Jail. (See Ex. 1, Depo. of James Buchanan, 184:2-184:3, 188:5-188:8; Ex.

13, Depo. of Marshal Dugan, 77:10-77:14).

   27. Buchanan never filled out a medical request in writing, or had another inmate fill one out

on his behalf, during his entire time at the Muskogee County Jail. (See Ex. 1, Depo. of James

Buchanan, 187:13-187:18; Ex. 13, Depo. of Marshal Dugan 74:18-74:24; Ex. 17, Depo. of

Charles Quick, 40:17-40:24).

   28. Buchanan does not know when he started to lose feeling in his arms, despite his

Amended Complaint saying he lost feeling in his left arm on November 4, 2016. (See Ex. 1,

Depo. of James Buchanan, 197:19-197:22; Dkt. 25, Paragraph 16).

   29. Buchanan was put on the Sick call list on November 6, 2016 for shoulder pain, and

Buchanan agrees he may have only complained about shoulder pain at the time due to the fact

that he was sleeping on a mat on the floor (which is permissible under the Oklahoma Department

of Human Services Jail Standards). The Sick Call list documentation says nothing about
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Buchanan losing feeling in his limbs, or becoming paralyzed. (See Ex. 1, Depo. of James

Buchanan, 204:22-207:21, Ex. 18, November 6, 2016 Sick Call list).

   30. Buchanan was moved into Cellblock 1 on November 7, 2016. (See Ex. 13, Depo. of

Marshal Dugan, 47:23-48:8; Ex. 17, Depo. of Charles Quick, 48:10-48:17).

   31. The Sick Call List from November 10, 2016 does not include Buchanan, which indicates

he did not request to see any nurses on that date either. (See Ex. 14, February 6, 2019 Depo. of

Rob Frazier, 121:8-121:17; Ex. 19, November 10, 2016 Sick Call List).

   32. Buchanan visited and spoke with his brother Stan Buchanan at the jail on November 11,

2016. Buchanan claims that he could not use his arms at the time of this call, but video of the

encounter clearly shows otherwise: that he is not paralyzed and can use his arms. Additionally,

he can use his legs in the video, and does not even complain of any issues related to his legs in

the video. (See Ex. 1, Depo. of James Buchanan, 271:24-273:13; Ex. 3, Depo. of Todd Wilcox,

153:12-154:4; Ex. 20, November 11, 2016 Video of visit with Stan Buchanan; Ex. 17, Depo. of

Charles Quick, 60:6-60:9; Ex. 4, Depo. of Stan Buchanan, 73:7-73:15, 75:6-75:11).

   33. Also in the conversation with his brother, Buchanan spends much of the conversation

talking about taking care of his plants at home, and talking about his bicycle. (See Ex. 13, Depo.

of Marshal Dugan, 68:15-68:20; Ex. 20, Video of phone conference with Stan Buchanan).

   34. In the video, Stan Buchanan suggested that he might come visit his brother again, but he

did not actually bother visiting his brother in the Muskogee County Jail again after the

November 11th conversation. Stan Buchanan additionally did not take anything his brother said

in the conversation seriously enough to actually do anything, or say anything to any jail

personnel about his brother’s condition. (See Ex. 20, Video of phone conference with Stan

Buchanan, Ex. 4, Depo. of Stan Buchanan, 80:18-80:22, 95:12-95:18).



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   35. On November 11, 2016, Buchanan was seen by Turn Key LPN Rosemary Kotas (who

had been a nurse for 33 years), who noted that he had decreased range of motion in his upper and

lower extremities, limited range of motion in his neck, as well as pain. (See Ex. 1, Depo. of

James Buchanan, 207:23-210:25; Ex. 21, November 11, 2016 Medical Note; Ex. 11, Depo. of

Rosemary Kotas, 220:5-220:19, 240:20-240:22).

   36. Kotas did not believe that there was an emergency situation when she saw Buchanan on

the 11th. If she had thought there was an emergency situation, she would have made sure he

received additional medical care. (See Ex.11, Depo. of Rosemary Kotas, 60:16-60:23, 222:16-

222:18, 223:24-224:2).

   37. If Turn Key nursing staff did not believe there was an emergency situation, but also could

not handle a situation with standard protocols, Turn Key procedure was that they were supposed

to schedule an appointment with Dr. Cooper, who came in once per week. (See Ex.10, Depo. of

William Cooper, 152:8-152:25, 159:22-160:37).

   38. The Turn Key LPN’s had more medical training than any of the jailers on staff at the

Muskogee County Jail (including training on what is and what is not an emergency), and the

jailers were entitled to rely on the nurses’ medical opinions. (See Ex. 11, Depo. of Rosemary

Kotas, 224:4-225:5; Ex. 10, Depo. of William Cooper, 139:20-140:9; Ex. 16, Depo. of Katie

McCullar, 195:22-196:20, 214:25-215:10; Ex. 22, Depo. of Lloyd Bickel, 110:7-110:14; Ex. 23,

Depo. of Jeremy Garvin, 117:2-117:9; Ex. 14, February 6, 2019 Depo. of Rob Frazier, 124:4-

124:18; Ex. 5, August 10, 2019 Depo. of Dr. Clinton Baird, 161:13-161:24).

   39. Jail staff had no reason to believe that Turn Key nursing staff were providing Buchanan

with improper or substandard care. (See Ex. 10, Depo. of William Cooper, 138:18-138:22).

   40. Jail staff did not prevent Turn Key from providing Buchanan with medical care. (See Ex.

10, Depo. of William Cooper, 138:24-139:3).
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   41. Jail staff members were entitled to send inmates to the emergency room via EMS if they

thought it was obvious nursing staff members were not providing appropriate medical care in an

emergency situation. (See Ex. 22, Depo. of Lloyd Bickel, 110:15-110:21).

   42. As she did not think it was an emergency situation as of her November 11th visit, Kotas

put Buchanan on the sick call list, and Buchanan was scheduled to see Dr. Cooper on his next

weekly round, on November 15, 2016. (See Ex. 1, Depo. of James Buchanan, 212:20-212:25;

Ex. 3, Depo. of Todd Wilcox, 161:10-161:13; Ex. 10, Depo. of William Cooper, 137:6-137:15,

159:7-159:10).

   43. On the morning of November 14, 2016, Turn Key LPN Katie McCullar was contacted by

a jailer via walkie-talkie, who told her that Buchanan was complaining. McCullar went to the

pod to see Buchanan, and she saw that he was sitting at a table, had muscle tone, was not flaccid,

and he was able to hold himself upright. (See Ex. 16, Depo. of Katie McCullar, 206:1-209:24).

   44. At 11:27 am, McCullar documented that Buchanan was complaining of worsening pain

and inability to move his lower extremities, and tingling in his legs, but not paralysis. (See Ex.

16, Depo. of Katie McCullar, 210:1-211:2; Ex. 24, Katie McCullar’s November 14, 2016

Medical Progress Note).

   45. McCullar contacted Dr. Cooper, and Dr. Cooper instructed her to again place Buchanan

on the list to be seen by Dr. Cooper on the 15th (even though he was already on the list).

McCullar did not think there was an emergency situation at this time. (See Ex. 10, Depo. of

William Cooper, 138:9-138:13, 150:21-151:11; Ex. 16, Depo. of Katie McCullar, 212:24-

212:25, 214:9-214:12, 216:1-216:18, 221:24-222:1; Ex. 24, Katie McCullar’s Medical Progress

Note).

   46. Later on November 14, 2016, Buchanan intentionally urinated on himself for the first and

only time in order to get the attention of a jailer, and Buchanan informed an unnamed jailer that
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he had urinated. (See Ex. 1, Depo. of James Buchanan, 215:20-216:22, 220:25-221:2; Ex. 13,

Depo. of Marshal Dugan, 50:18-50:25).

   47. When Buchanan intentionally urinated on himself, he claims he had only just lost the use

of his legs within the previous 24-36 hours. (See Ex. 1, Depo. of James Buchanan, 220:25-221:8;

Ex. 13, Depo. of Marshal Dugan, 62:14-62:20).

   48. Buchanan claims he was thereafter seen immediately by a Turn Key nurse, who the

unnamed jailer called. (See Ex. 1, Depo. of James Buchanan, 219:9-219:21).

   49. Turn Key Nurse Rosemary Kotas agrees that a jailer informed her of Buchanan’s

situation on November 14th at 8:10 p.m., at which point Kotas saw urine on the floor, and

performed vitals.   Based on the urination, elevated heart rate, decreased oxygen saturation

(which is an unreliable number), and the appearance of pain, Kotas determined for the first time

that it was an emergency situation, and contacted Dr. Cooper via telephone, who also agreed it

was an emergency situation. (See Ex. 11, Depo. of Rosemary Kotas, 221:2-221:10, 221:22-

221:25, 223:14-223:23, 229:9-229:16, 235:6-235:15, 245:24-246:17; Ex. 25, Rosemary Kotas’

November 14, 2016 medical progress note; Ex. 16, Depo. of Katie McCullar, 221:11-221:17).

   50. Dr. Cooper was not required to give approval to send an inmate to the emergency room;

Rosemary Kotas, Katie McCullar, or any other nurse could have done so, even without his

approval, if they believed there was an emergency situation. (See Ex. 10, Depo. of William

Cooper, 150:4-150:20, 151:12-151:16; Ex. 16, Depo. of Katie McCullar, 223:9-223:15).

   51. Prior to this moment on the evening of November 14th, Kotas had never informed any jail

staff member, or been informed by any jail staff member, that Buchanan was in an emergency

situation, or needed to go to the hospital immediately. Nor had any such conversations occurred

with Dr. Cooper and jail staff. (See Ex. 11, Depo. of Rosemary Kotas, 235:236:16; Ex. 10, Depo.

of William Cooper, 161:24-162:21).
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   52. Kotas then contacted the EMSA ambulance service, who transported Buchanan to the

hospital on the evening of November 14, 2016. (See Ex. 1, Depo. of James Buchanan, 220:20-

221:25; Ex. 11, Depo. of Rosemary Kotas, 223:22-223:23; Ex. 30, Audio recording of phone call

to EMSA).

   53. Even on November 14, 2016, neither Kotas nor McCullar knew that Buchanan had a

cervical epidural abscess, which is an uncommon condition that is not one of the first things that

springs to mind upon seeing a decreased range of motion. (See Ex. 11, Depo. of Rosemary

Kotas, 230:21-231:20; Ex. 10, Depo. of William Cooper, 134:19-135:18; Ex. 16, Depo. of Katie

McCullar, 211:24-212:23, 215:18-215:25; Ex. 5, August 10, 2019 Depo. of Dr. Clinton Baird,

143:24-144:11).

   54. Buchanan was transferred again from the local hospital to a larger and more specialized

hospital, Hillcrest Medical Center, on November 15, 2016, and he had surgery performed by Dr.

Clinton Baird on November 16, 2016 on his spine. Even by the time of the surgery (2 days after

his release from the Muskogee County Jail), the surgery was done within the 24-72 hour window

of time to prevent complete paralysis and allow Buchanan to recover. (See Ex. 5, August 10,

2019 Depo. of Dr. Clinton Baird, 136:15-137:6).

   55. Buchanan is now able to care for himself, including walking, going up steps, bathing

himself, going to the bathroom on his own, cooking and cleaning for himself, and even riding a

bicycle. (See Ex. 1, Depo. of James Buchanan, 264:12-264:23, 305:19-306:2, 309:2-309:16,

327:25-328:1; Ex. 4, Depo. of Stan Buchanan, 90:5-91:7).

   56. The Muskogee County Detention Center (“MCDC”) had a policy to provide adequate

health care services, including complete emergency medical, dental, and mental health care, to

all inmates regardless of their financial status.    The policy provided that outside medical

resources and specialized treatment was available, including access to adequately equipped and
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licensed hospital emergency rooms and other appropriate health facilities in the community. (Ex.

26, MCDC Policy 15-1).

   57. The MCDC had policies to provide inmates with access to routine and emergency

medical care. The policies provided a “Sick Call” procedure by which inmates could request

routine medical care, and provided for a medical clinic twice a week at the facility by licensed

medical personnel to see inmates requesting care through the “Sick Call” procedure.           The

policies provided that medical staff would be on duty at the facility 24 hours a day, and inmates

would have access to emergency medical care for acute illnesses and unexpected health care

needs which could not be deferred until the next scheduled sick call. The policies also provided

for in-cell care for illness or diagnosis requiring bed rest or limited observation or management,

but not requiring hospital admission. The policies further provided for access to outside medical

specialists where medically necessary. (Ex. 27, MCDC Policy 15-3; Ex. 28, MCDC Policy 15-5).

   58. The MCDC had a policy requiring the administration of inmate prescription medication

in compliance with the orders of a licensed physician or designated medical authority. (Ex. 29,

MCDC Policy 15-6).

   59. It was the policy and custom at the MCDC to provide inmates medical care, and to

contact Turn Key medical if a jailer thought that an inmate needed medical care. It would be

against policy and custom to ignore an inmate’s medical needs, or to deny an inmate medical

care. (See Ex. 8, Depo. of Ryan Hamil, 19:17-21:3; Ex. 3, Depo. of Todd Wilcox, 164:18-

164:22, 166:19-166:22; Ex. 26-29, MCDC Policies; Ex. 22, Depo. of Lloyd Bickel, 110:23-

111:1; Ex. 14, February 6, 2019 Depo. of Rob Frazier, 124:9-125:6).

   60. It was also the policy of the MCDC to provide adequate healthcare services, including

complete emergency, medical, dental and mental healthcare to all inmates in the jail regardless of

their financial status. It was additionally the policy of the MCDC to provide inmates with
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medical and healthcare services that met standards. Further, it was the policy of the MCDC to

send inmates to the emergency room in emergency situations. If healthcare was provided that did

not meet standards (including any failure to send inmates to the emergency room in an

emergency situation), this would be a violation of policy. (See Ex. 16, Depo. of Katie McCullar,

229:18-231:6; Ex. s 26-29, MDCD Policies; Ex. 22, Depo. of Lloyd Bickel, 111:2-111:4; Ex. 23,

Depo. of Jeremy Garvin, 117:10-117:20; Ex. 14, February 6, 2019 Depo. of Rob Frazier, 124:9-

125:6).

61.       There is no requirement in Oklahoma that County Jails have Licensed Practical Nurses

(LPN’s) on-site at all, and no requirement that County Jails have on-site medical staff 24/7.

Nevertheless, the Muskogee County Jail, unlike the vast majority of County Jails, had, via

Turnkey, LPN’s on-site 24/7, as well as an Advanced Registered Nurse Practitioner or Doctor at

the site twice per week, and a medical provider (Dr. Cooper) on call 24 hours per day. (See Ex.

3, Depo. of Todd Wilcox, 155:16-155:25; Ex. 10, Depo. of William Cooper, 139:4-139:25,

140:11-141:7, 149:16-150:3; Ex. 22, Depo. of Lloyd Bickel, 109:8-109:20; Ex. 23, Depo. of

Jeremy Garvin, 118:5-118:21; Ex. 31, Contract for Medical Staffing, Section 1.14; Ex. 32,

Depo. of Flint Junod, 44:13-45:9, 47:17-48:13, 88:1-88:24).

      62. In contracting with Turnkey, the MCDC picked a higher and more expensive option with

24-hour coverage to provide optimal medical care for inmates. (See Ex. 22, Depo. of Lloyd

Bickel, 108:5-119:20; Ex. 23, Depo. of Jeremy Garvin, 118:5-118:21; Ex. 31, Contract for

Medical Staffing, Section 1.14).

      63. Some county jails in Oklahoma do not have on-site medical staff at all, which is approved

by the Oklahoma Department of Health. (See Ex. 32, Depo. of Flint Junod, 89:7-89:25).




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   64. Additionally, there is no requirement in Oklahoma that County Jails have an LPN do an

initial assessment. Nevertheless, at the Muskogee County Jail, LPN’s performed the initial

assessments. (See Ex. 3, Depo. of Todd Wilcox, 156:1-156:21).

   65. The Muskogee County Jail had no control over Turn Key’s staffing decisions, as Turn

Key staff were employees/agents of Turn Key, not Muskogee County. (See Ex. 23, Depo. of

Jeremy Garvin, 115:15-115:20; Ex. 31, Contract for Medical Staffing, Section 1.14).

   66. Under the terms of the Contract, Turn Key kept medical records of the inmates of its

own, separate from the Jail’s own files on the inmates. (Ex. 31, Contract for Medical Staffing,

Section 1.23).

   67. Under the terms of the Contract with Turn Key, Turn Key was responsible for medical

care of all inmates in the facility. (See Ex. 31, Contract for Medical Staffing).

   68. Under the terms of the Contract with Turn Key, Turn Key was required to comply with

the Oklahoma Department of Human Services Jail Standards. (Ex. 31, Contract for Medical

Staffing, Section 1.3; Ex. 32, Depo. of Flint Junod, 91:11-92:2).

   69. Under the terms of the Contract with Turn Key, Turn Key is an independent contractor,

and not an agent of the County. (Ex. 31, Contract for Medical Staffing, Section 5.1; Ex. 32,

Depo. of Flint Junod, 94:15-95:24).

                               ARGUMENT AND AUTHORITY

                                   STANDARD OF REVIEW

       Rule 56(a) of the Federal Rules of Civil Procedure provides that “[t]he court shall grant

summary judgment if the movant shows that there is no genuine dispute as to any material fact

and the movant is entitled to judgment as a matter of law.” Summary judgment is not a

disfavored procedural shortcut, but an integral part of the federal rules as a whole. Celotex Corp.

v. Catrett, 477 U.S. 317 (1986).
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       In Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249 (1986), the Supreme Court held

that “there is no issue for trial unless there is sufficient evidence favoring the non-moving party

for a jury to return a verdict for that party.” The Court further held that “if the evidence is

merely colorable, or not significantly probative, summary judgment may be granted.” Id. In

addition, the Anderson Court stated that “the mere existence of a scintilla of evidence in support

of a plaintiff's position will be insufficient; there must be evidence on which a jury could

reasonably find for the plaintiff.” Id. A movant’s summary judgment burden may properly be

met by reference to the lack of evidence in support of plaintiff’s position. See Adler v. Wal-Mart

Stores, Inc., 144 F.3d 664, 671 (10th Cir. 1998) (citing Celotex, 477 U.S. at 325).

       Furthermore, as described by the court in Cone v. Longmont United Hosp. Ass’n., 14 F.3d

526 (10th Cir. 1994), “Even though all doubts must be resolved in (the nonmovant’s) favor,

allegations alone will not defeat summary judgment.” Cone at 530 (citing Celotex, 477 U.S. at

324). See also Hall v. Bellmon, 935 F.2d 1106, 1111 (10th Cir. 1991); Roemer v. Pub. Serv. Co.

of Colo., 911 F. Supp. 464, 469 (D. Colo. 1996). Moreover, “(i)n response to a motion for

summary judgment, a party cannot rely on ignorance of facts, on speculation, or on suspicion,

and may not escape summary judgment in the mere hope that something will turn up at trial.”

Conaway v. Smith, 853 F.2d 789, 794 (10th Cir. 1988).

                                       PROPOSITION I:

                    Defendant Frazier is Entitled to Summary Judgment
                     With Regard to Plaintiff’s 42 U.S.C. § 1983 Claim

       Plaintiff asserts a sole claim against Defendant Frazier in his official capacity, which

arises under 42 U.S.C. § 1983. 1 This claim against Defendant Frazier in his official capacity

represents another way of pleading an action against an entity of which Sheriff Frazier is

1
 Defendant Frazier was not even Sheriff of Muskogee County at the time of these events, when
Charles Pearson was Sheriff.
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currently the agent. See McDonald v. Wise, 769 F.3d 1202, 1215 (10th Cir. 2014). Specifically,

Plaintiff alleges that his rights under the Eighth and/or Fourteenth Amendments were violated by

the alleged denial of adequate medical care. (Dkt. 25, pp. 11-15). However, Defendant Frazier in

his official capacity is entitled to summary judgment with regard to that claim.

       Section 1983 creates no substantive civil rights, but rather only provides a procedural

mechanism for enforcing rights established elsewhere. See Albright v. Oliver, 510 U.S. 266,

271, 114 S.Ct. 807, 127 L.Ed.2d 114 (1994); Gallegos v. City and County of Denver, 984 F. 2d

358, 362 (10th Cir. 1993). See also Miller v. Hawver, 474 F. Supp. 441, 442 n.1 (D. Colo. 1979)

(§ 1983 is not a general or common law tort claims statute). In order to establish municipal

liability against the Defendant under 42 U.S.C. § 1983, Plaintiff must show that his constitutional

right was violated by an individual subordinate agent of Sheriff Frazier in his official capacity,

AND that such violation was caused by a policy, practice or custom of the MCDC or that an

official with final policy-making authority for the MCDC (i.e. former Muskogee County Sheriff

Charles Pearson) personally participated in the alleged constitutional violation(s). See Jett v.

Dallas Independent School District, 491 U.S. 701, 109 S. Ct. 2702, 105 L. Ed. 2d 598 (1989)

(municipality cannot be held liable under § 1983 unless the act complained of is that of a final

policymaker or a custom or usage is shown).

   A. Individual Violation

   The lack of a constitutional violation by the officers of a municipality negates a finding of

liability against the municipality itself. Hinton v. City of Elwood, 997 F.2d 774, 782 (10th Cir.

1993). This is so “regardless of whether the municipality’s policies might have ‘authorized’ such

harm.” Id. (citing City of Los Angeles v. Heller, 475 U.S. 796, 799 (1986)). See also Walker v.

City of Orem, 451 F.3d 1139, 1152 (10th Cir. 2006) (holding that a plaintiff suing a county under

§ 1983 must demonstrate that a municipal employee committed a constitutional violation);
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Livsey v. Salt Lake County, 275 F.3d 952, 958 (10th Circ. 2001) (county employees did not

violate constitutional rights and thus could not have cause the county to be held liable based on

their actions). Here, first and foremost, Plaintiff cannot show that any individual members of the

jail staff acted with deliberate indifference toward Plaintiff’s medical needs. As such, no

constitutional violation occurred, and Defendant Frazier is entitled to summary judgment for this

primary reason.

       Deliberate indifference is a very high standard to meet, one which requires proof that an

actor disregarded a “known or obvious consequence of his action” as it relates to providing

medical care. Bd. Of County Comm’rs of Bryan County, Okla. v. Brown, 520 U.S. 397, 410

(1997). “It is obduracy and wantonness, not inadvertence or error in good faith” that violates the

Constitution with regard to meeting medical needs. Whitley v. Albers, 475 U.S. 312, 319 (1986).

In Estelle v. Gamble, 429 U.S. 97 (1976), the U.S. Supreme Court held that deliberate

indifference to a prisoner’s serious medical needs constitutes cruel and unusual punishment

under the Eighth Amendment, and such a constitutional violation is actionable under § 1983.

Estelle at 104.

       To state a claim that deliberate indifference to serious medical needs rises to the level of

cruel and unusual punishment, a plaintiff must satisfy both the objective and subjective elements

of the test for deliberate indifference. Mata v. Saiz, 427 F.3d 745, 752-753 (10th Cir. 2005)

(quoting Farmer v. Brennan, 511 U.S. 825, 834-37, 114 S.Ct. 1970, 128 L.Ed.2d 811 (1994).

Defendant Frazier acknowledges that Plaintiff experienced medical issues that were sufficiently

serious to satisfy the objective element of the test. However, the second element that Plaintiff

must prove to satisfy the deliberate indifference test is the subjective element, which is not met

here. To meet that burden, Plaintiff must show that an individual agent of Defendant Frazier in

his official capacity acted with a “sufficiently culpable state of mind,” in a manner so egregious
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that it amounts to “deliberate indifference” to a substantial risk of serious harm to an inmate.

Farmer at 834. Mere negligence, even gross negligence, is insufficient to meet this standard.

Berry v. City of Muskogee, Oklahoma, 900 F.2d 1489, 1495 (10th Cir. 1990) (citing City of

Canton v. Harris, 489 U.S. 378, 388 and n. 7 (1989)). In other words, to meet the subjective

element, Plaintiff must demonstrate that a specific employee of the Jail was aware of a known or

obvious risk that Plaintiff was at substantial risk of serious harm, and did not act to mitigate that

risk. Hunt v. Uphoff, 199 F.3d 1220, 1224 (10th Cir. 1999). Collective liability is insufficient;

one or more specific employees of the Sheriff’s Office must have acted with deliberate

indifference. See Burke v. Regalado, 2019 WL 3938633 at *30-31 (10th Cir., August 20, 2019)

(attached as Ex. 33). Plaintiff cannot do this; there is simply no evidence that any particular

individual MCDC employee was deliberately indifferent to Plaintiff’s medical needs

       First and foremost, it is important to note that Sheriff Frazier in his official capacity can

only potentially be held responsible for deliberate indifference by subordinates of the Muskogee

County Sheriff’s Office, not Turn Key staff. The Tenth Circuit recently clarified the standard for

when an employee is a subordinate, stating:

       Under the contract between TCSO and CHC, “TCSO is charged with the
       responsibility for administering, managing[,] and supervising the health care
       delivery system” at the jail. App. at 11824. CHC providers worked at the jail only
       with TCSO’s permission, and TCSO sometimes revoked this permission for
       policy violations. Moreover, TCSO (1) could require CHC to terminate medical
       providers; (2) “own[ed] and retain[ed] custody and control of all medical
       records,” id. at 11828; (3) allocated space for CHC medical providers to work;
       and (4) provided equipment to CHC staff. See Burke, supra, at *19.

       Here, unlike in Burke, supra, Turn Key Staff were obviously not subordinates of the

   Muskogee County Sheriff. The Muskogee County Jail had no control over Turn Key’s

   staffing decisions, as Turn Key Staff were employees/agents of Turn Key, not Muskogee

   County. (See Undisputed Fact No. 65). Moreover, Turn Key kept medical records of the


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inmates of its own, separate from the Jail’s own files on the inmates. (See Undisputed Fact

No. 66). Further, under the terms of the Contract with Turn Key, Turn Key was responsible

for medical care of all inmates in the facility. (See Undisputed Fact No. 67). Most

importantly, under the terms of the Contract with Turn Key, Turn Key is an independent

contractor, and not an agent of the County. (See Undisputed Fact No. 69). The situation here

is directly inapposite to the situation in Burke, supra, and Turn Key staff were NOT subordinates of

the Muskogee County Sheriff.

    Thus, Plaintiff must establish that an individual who actually was a subordinate of the

Muskogee County Sheriff was deliberately indifferent. Plaintiff cannot do this. Notably, Plaintiff

fails to even indicate in his Amended Complaint (Dkt. 25) which particular individual allegedly

violated Plaintiff’s constitutional rights through deliberate indifference. It is still not clear who

Plaintiff is claiming the detention staff member is that allegedly violated his rights. In fact, Plaintiff

cannot even name any staff at the Jail at all. (See Undisputed Fact No. 26).

    Certainly, Plaintiff cannot establish that any particular employee of the Muskogee County Jail

was aware of a known or obvious risk that Plaintiff was at substantial risk of serious harm,

and did not act to mitigate that risk. Hunt v. Uphoff, 199 F.3d 1220, 1224 (10th Cir. 1999).

In the absence of a reason to believe that medical personnel were mistreating or not treating

the prisoner, non-medical prison personnel cannot be held liable for deliberate indifference to

a prisoner’s serious medical needs if the prisoner is under the care of prison medical

personnel. Spruill v. Gillis, 372 F.3d 218, 236 (3rd Cir. 2004).

    Here, Plaintiff was seen by medical personnel on at least 22 occasions. He received a

medical screening from a qualified nurse. (See Undisputed Fact No. 15). He received

Naproxen 19 times, every morning and every night (with one exception), which was

prescribed by a qualified physician, and passed to him directly by a qualified nurse, who
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placed it in his mouth and had the opportunity to see him. (See Undisputed Fact Nos. 17, 20,

22, 23, 35). He was seen again by a qualified by nurse on November 11, 2016, and was

placed on the sick call list to see Dr. Cooper. (See Undisputed Fact No. 35). No member of

the nursing staff ever thought that Plaintiff was in an emergency situation, until the evening

of November 14, 2016. (See Undisputed Fact Nos. 24, 36, 45, 51). Even when he was

examined by Turn Key LPN Katie McCullar on the morning of November 14, 2016, she did

not think it was an emergency situation. (See Undisputed Fact Nos. 43 - 45). Jail staff had

no reason to believe that Turn Key nursing staff were providing Plaintiff with improper or

substandard care. (See Undisputed Fact No. 39). Jail staff additionally did not prevent Turn

Key from providing Plaintiff with medical care. (See Undisputed Fact No. 40). Jail staff

were entitled to send inmates to the emergency room via EMS if they thought it was obvious

nursing staff were not providing appropriate medical care in an emergency situation. (See

Undisputed Fact No. 41). Here, no such thing was obvious. Rather, only after Plaintiff

intentionally urinated on himself, and LPN Nurse Rosemary Kotas performed vitals, did it

become apparent that Plaintiff was in an emergency situation. (See Undisputed Fact Nos. 47-

50).

   The Turn Key LPN’s had more medical training than any of the jailers on staff at the

Muskogee County Jail (including training on what is and what is not an emergency), and the

jailers were entitled to rely on the nurses’ medical opinions that it was not an emergency, and

that he should be seen on November 15th by Dr. Cooper. (See Undisputed Fact Nos. 38, 51).

Plaintiff’s brother additionally did not seem to think that Plaintiff was in an emergency

situation, as even after seeing and talking to him on the 11th (where Plaintiff spent much of

the conversation talking about his bicycle and his plants), his brother did not do anything to

help Plaintiff, or say anything to jail personnel. (See Undisputed Fact Nos. 33, 34).
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    Even on November 14, the Turn Key nurses had not been able to correctly diagnose

Plaintiff’s cervical epidural abscess, which is an uncommon condition that is not one of the

first things that springs to mind upon seeing a decreased range of motion. (See Undisputed

Fact No. 53). They were not alone: the medical personnel at St. John’s had not diagnosed it

either, even though the underlying infection had already started. (See Undisputed Fact No.

6). Nevertheless, the Turn Key nurses recognized an emergency situation when it in fact

developed, as he was transferred to the hospital on November 14. (See Undisputed Fact No.

52). He was then transferred to Hillcrest Medical Center on November 15, who waited

another day until November 16 to perform surgery within the 24-72 hour window to prevent

complete paralysis and allow Plaintiff to recover. (See Undisputed Fact No. 54). Thankfully,

Plaintiff recovered, and is now able to care for himself, including walking, going up steps,

bathing himself, going to the bathroom on his own, cooking and cleaning for himself, and

even riding a bicycle. (See Undisputed Fact No. 55).

   Plaintiff here essentially argues that some unnamed and unknown jailer violated his rights

by denying him medical care, even though Plaintiff was seen by well-trained medical

personnel TWENTY-TWO times, and no medical personnel ever considered it to be an

emergency until the evening of November 14, when he was promptly and appropriately taken

to the hospital. There is no evidence in this case whatsoever that Muskogee County Jail

personnel prevented Plaintiff from receiving medical care, and certainly no evidence that any

particular subordinate of the Muskogee County Sheriff was deliberately indifferent. Even

Plaintiff cannot name the individual who supposedly violated his rights.        There is no

underlying violation of Plaintiff’s constitutional rights by a Muskogee County Sheriff’s

Office employee, and for this original and primary reason, Defendant Sheriff Frazier in his

official capacity is entitled to summary judgment.
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   B. Official Capacity

    Here, there is no allegation or evidence that former Sheriff Pearson personally participated

in the alleged violations of Plaintiff’s constitutional rights. As such, Plaintiff’s § 1983 claim

against Defendant Frazier in his official capacity must be premised on the existence of some

policy, practice, or custom of the MCDC.

       Defendant Frazier cannot be held liable under § 1983 based upon the doctrine of

respondeat superior or vicarious liability. Monell v. New York City Dept. of Social Services, 436

U.S. 658, 694-95, 98 S. Ct. 2018, 56 L. Ed. 2d 611 (1978). In Monell, the Supreme Court held

that a governmental entity is only liable under § 1983 when the constitutional injury can fairly be

said to have been caused by that entity’s own policies and customs. Id. at 694. The actions of the

governmental entity must be the moving force behind the constitutional violation. Id. The

Supreme Court has held that governmental liability for a constitutional violation “attaches where

- and only where - the entity makes a deliberate choice to follow a course of action from among

various alternatives.” Pembaur v. Cincinnati, 475 U.S. 469, 483, 106 S. Ct. 1291, 89 L. Ed. 2d

425 (1986).

       Defendant Frazier may not be held liable simply because it “employs a tortfeasor.” Board

of County Commissioners of Bryan County, Oklahoma v. Brown, 520 U.S. 397, 403, 117 S. Ct.

1382, 1388, 137 L. Ed. 2d 626 (1997). Additionally, “[t]hat a plaintiff has suffered a deprivation

of federal rights at the hands of a municipal employee will not alone permit an inference of

municipal culpability and causation.” Id. at 406-07. Rather, Monell requires Plaintiff to establish

that a policy or custom of the MCDC exists and that it caused the alleged constitutional

violations. See City of Oklahoma City v. Tuttle, 471 U.S. 808, 821-22, 105 S. Ct. 2427, 85 L. Ed.

2d 791 (1985); see also Hinton v. City of Elwood, 997 F.2d 774, 782 (10th Cir. 1993) (plaintiff

must show that there is a direct causal link between the policy or custom and the injury alleged).
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       Furthermore, it is not enough for a §1983 plaintiff merely to identify conduct properly

attributable to the municipality. Brown, 520 U.S. at 408. The plaintiff must also demonstrate

that, through its deliberate conduct, the municipality was the “moving force” behind the injury

alleged. Id. (emphasis added). Furthermore, “[w]here a plaintiff claims that the municipality has

not directly inflicted an injury, but nonetheless has caused an employee to do so, rigorous

standards of culpability and causation must be applied to ensure that the municipality is not held

liable solely for the actions of its employee.” Id. at 405.

       In sum, Plaintiff cannot show that a policy, practice, or custom of the MCDC existed

which caused any alleged violation of his constitutional rights.

       Municipal liability may be based on a formal regulation or policy statement, or it
       may be based on an informal custom so long as this custom amounts to a
       widespread practice that, although not authorized by written law or express
       municipal policy, is so permanent and well settled as to constitute a custom or
       usage with the force of law.

Brammer-Hoelter v. Twin Peaks Charter Acad., 602 F.3d 1175, 1189 (10th Cir. 2010) (citations

and internal quotation marks omitted).

       In order for a municipality to be held liable for an un-official practice under § 1983, the

practice must be “so permanent and well settled as to constitute a custom or usage with the force

of law...In order to establish a custom, the actions must be persistent and widespread ... practices

of [city] officials.” Lankford v. City of Hobart, 73 F.3d 283, 286 (10th Cir. 1996) (internal

citations and quotation marks omitted). In determining what level of persistent and widespread

conduct will be sufficient to establish municipal liability, it is clear that “normally random acts”

and “isolated incidents” fall short. Church v. City of Huntsville, 30 F.3d 1332, 1345 (11th Cir.

1994). See also Carter v. Morris, 164 F.3d 215, 220 (4th Cir. 1999) (a “meager history of

isolated incidents” is insufficient). Furthermore, the court in Lytle v. Doyle, 326 F.3d 463, 473



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(4th Cir. 2003), required evidence of “‘numerous particular instances’ of unconstitutional

conduct.”

       However, Plaintiff cannot demonstrate that the alleged violations of his constitutional

rights were caused by any policy, practice or custom of the MCDC. To the contrary, the MCDC

had implemented policies and practices aimed at preventing the denial or delay of medical care

to MCDC inmates.

   Again, the Muskogee County Detention Center (“MCDC”) had a policy to provide adequate

health care services, including complete emergency medical, dental, and mental health care, to

all inmates regardless of their financial status.   The policy provided that outside medical

resources and specialized treatment was available, including access to adequately equipped and

licensed hospital emergency rooms and other appropriate health facilities in the community. (See

Undisputed Fact No. 56). The MCDC had policies to provide inmates with access to routine and

emergency medical care. The policies provided a “Sick Call” procedure by which inmates could

request routine medical care, and provided for a medical clinic twice a week at the facility by

licensed medical personnel to see inmates requesting care through the “Sick Call” procedure.

The policies provided that medical staff would be on duty at the facility 24 hours a day, and

inmates would have access to emergency medical care for acute illnesses and unexpected health

care needs which could not be deferred until the next scheduled sick call. The policies also

provided for in-cell care for illness or diagnosis requiring bed rest or limited observation or

management, but not requiring hospital admission. The policies further provided for access to

outside medical specialists where medically necessary. (See Undisputed Fact No. 57). The

MCDC had a policy requiring the administration of inmate prescription medication in

compliance with the orders of a licensed physician or designated medical authority. (See

Undisputed Fact No. 58). It was the policy and custom at the MCDC to provide inmates medical
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care, and to contact Turn Key medical if a jailer thought that an inmate needed medical care. It

would be against policy and custom to ignore an inmate’s medical needs, or to deny an inmate

medical care. (See Undisputed Fact No. 59). It was additionally the policy of the MCDC to

provide adequate healthcare services, including complete emergency, medical, dental and mental

healthcare to all inmates in the jail regardless of their financial status. It was additionally the

policy of the MCDC to provide inmates with medical and healthcare that met standards. Further,

it was the policy of the MCDC to send inmates to the emergency room in emergency situations.

If healthcare was provided that did not meet standards (including any failure to send inmates to

the emergency room in an emergency situation), this would be a violation of policy. (See

Undisputed Fact No. 60).

   In fact, the Muskogee County Detention Center went above and beyond the requirements to

ensure that adequate and appropriate medical care was provide to its inmates. There is no

requirement in Oklahoma that County Jails have Licensed Practical Nurses (LPN’s) on-site at all,

and no requirement that County Jails have on-site medical staff 24/7. Nevertheless, the

Muskogee County Jail, unlike the vast majority of County Jails, had, via Turnkey, LPN’s on-site

24/7, as well as an Advanced Registered Nurse Practitioner or Doctor at the site twice per week,

and a medical provider (Dr. Cooper) on call 24 hours per day. (See Undisputed Fact No. 61). In

contracting with Turnkey, the MCDC picked a higher and more expensive option with 24-hour

coverage to provide optimal medical care for inmates. (See Undisputed Fact No. 62). Some

county jails in Oklahoma do not have on-site medical staff at all, which is approved by the

Oklahoma Department of Health. (See Undisputed Fact No. 63). Additionally, there is no

requirement in Oklahoma that County Jails have an LPN do an initial assessment. Nevertheless,

at the Muskogee County Jail, LPN’s performed the initial assessments. (See Undisputed Fact No.

64).
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       Clearly, the policies and practices of the MCDC did not cause the alleged violations of

Plaintiff’s constitutional rights. To the contrary, any alleged deprivations of the Plaintiff’s

constitutional rights (such as failing to send Plaintiff to the hospital if there was a known

emergency situation) would be in violation of the MCDC’s policies.

       Moreover, Plaintiff has no evidence of any persistent and widespread pattern of denial of

medical care to MCDC inmates that would support a claim of an informal unconstitutional

custom or practice. Cf Connick v. Thompson, 131 S. Ct. 1350, 1360, 179 L.Ed.2d 417 (2011)

(holding that a pattern of similar constitutional violations is typically necessary to prove

deliberate indifference). The 10th Circuit recently clarified what is necessary to show such a

widespread pattern, which would require a documented history of a failure to follow

recommendations into increased staffing, a documented lack of well-qualified or trained nurses,

and a repeated failure to timely address medical issues. See Burke, supra, at *21. None of these

issues exist here.

       Accordingly, the Defendant is entitled to summary judgment to the extent that Plaintiff’s

§ 1983 claims against him are premised upon allegations of the existence of unconstitutional

policies, practices, or customs.

       WHEREFORE, premises considered, Defendant Rob Frazier, Sheriff of Muskogee

County, in his Official Capacity, respectfully requests the Court to grant summary judgment in

his favor and to dismiss all of Plaintiff’s claims against him with prejudice to the re-filing

thereof.




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                                                  Respectfully submitted,

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                                                  Oklahoma and Sheriff Rob Frazier



                                 CERTIFICATE OF SERVICE

       I hereby certify that on September 4, 2019, I electronically transmitted the attached
document to the Clerk of Court using the ECF System for filing and transmittal of a Notice of
Electronic Filing to the following ECF registrants:

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